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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE

JEREMY L. MURPHY, individually and
on behalf of all others similarly situated,

 

Plaintiff, : Civil Action No.:
Vv. : CLASS ACTION COMPLAINT
COMMUNITY HEALTH SYSTEMS, : JURY TRIAL DEMANDED
INC. and COMMUNITY HEALTH
SYSTEMS PROFESSIONAL
SERVICES CORPORATION,

Defendants.

CLASS ACTION COMPLAINT

 

NOW COMES Plaintiff Jeremy L. Murphy (“Plaintiff”), by and through his undersigned
counsel, individually and on behalf of all others similarly situated, and hereby files this Class
Action Complaint against Community Health Systems, Inc. (“CHS”) and Community Health
Systems Professional Services Corporation (“CHSPSC”) (collectively “Defendants”). In support
thereof, Plaintiff states and alleges as follows:

NATURE OF THE ACTION

1. Plaintiff brings this nationwide Class Action Complaint on behalf of himself and
all other individuals whose patient identification data was stolen from the computer network of
Defendants (the “Data Breach”).

2. As a result of Defendants’ failure to protect this highly sensitive and confidential
information, the patient identification data of Plaintiff and the members of the proposed Class,
including but not limited to patient names, addresses, birthdates, telephone numbers and Social

Security numbers, was obtained by unknown third parties.
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3. Defendants had a duty to protect the private, highly sensitive, confidential patient
identification data of Plaintiff and the members of the proposed Class.

4, Defendants agreed to protect the private, highly sensitive, confidential patient
identification data of Plaintiff and the members of the proposed Class.

5. Defendants failed to safeguard and prevent vulnerabilities from being taken
advantage of in their computer system.

6. Intruders first gained access to Defendants’ computer network in April, 2014.
However, Defendants did not confirm the Data Breach until July, 2014. Defendants then waited
until August, 2014 to begin sending out notifications about the Data Breach.

7. Plaintiff and the proposed Class members have a possessory interest in their
patient identification data and an interest in it remaining private because that information,
including incredibly private and sensitive information such as Social Security numbers, has
substantial value not only to Plaintiff and the proposed Class members, but to also criminals who
traffic in such information.

8. Because of the real threat of immediate harm, as well as the intrinsic value of the
stolen information itself, Plaintiff and the proposed Class members have suffered an immediate
and present injury to their privacy and possessory interest as a direct result of Defendants’
negligent failure to safeguard Plaintiff's and the proposed Class members’ confidential patient
identification data, as well as the breach of their agreements to do the same.

9. Moreover, Plaintiff and the proposed Class members are at an increased and
imminent risk of becoming victims of identity theft crimes, fraud and abuse, and have been
forced to spend considerable time and money to protect themselves as a result of Defendants’

conduct.
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THE PARTIES

10. Defendant Community Health Systems, Inc. is one of the nation’s leading
operators of general acute care hospitals. Defendants and their affiliates own, operate, or lease
206 hospitals in 29 states with approximately 31,100 licensed beds.

Ll. Defendant Community Health Systems, Inc. is headquartered at 4000 Meridian
Boulevard, Franklin, Tennessee 37067.

12. Defendant Community Health Systems Professional Services Corporation
provides management, consulting, and information technology services to independent
community hospitals and health systems, as well as to certain clinics and physician practice
operations.

13. Defendant Community Health Systems Professional Services Corporation
operates as a subsidiary of Defendant Community Health Systems, Inc.

14. Defendant Community Health Systems Professional Services Corporation is
headquartered at 4000 Meridian Boulevard, Franklin, Tennessee 37067.

15. Plaintiff, Jeremy L. Murphy, is an adult individual residing in Fayetteville,
Arkansas. Within the previous five (5) years, Plaintiff has been treated by Defendants’ affiliated
health care providers.

JURISDICTION AND VENUE

16. This Court has original jurisdiction over this action under the Class Action
Fairness Act (“CAFA”), 28 U.S.C. § 1332(d)(2). The amount in controversy in this action
exceeds $5,000,000, exclusive of interest and costs, and there are more than 100 members of the
Class defined below, the majority of whom reside in different states than Defendants.

17. Venue is proper in this Court pursuant to 28 U.S.C. § 1391, because Defendants
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regularly transact business in this District, and a substantial part of the events giving rise to this
Complaint arose in this District.
FACTUAL BACKGROUND

18. Plaintiff and the proposed Class members were required to provide their health
care providers with highly sensitive, private, and confidential patient identification data,
including their full legal names, addresses, birthdates, telephone numbers and Social Security
numbers in order to receive the healthcare they required.

19. Through their subsidiary and other relationships with Plaintiff and the proposed
Class members’ health care providers, Defendants came into possession of the patient
identification data of Plaintiff and the proposed Class members.

20. The patient identification data of Plaintiff and the proposed Class members,
while under the control of Defendants, was accessed without the authorization of Plaintiff and
the proposed Class members.

21. Although intruders first gained access to Defendants’ computer network in April
2014, Defendants did not confirm the Data Breach until July 2014.

22. Defendants then waited until August 2014 to begin sending out notifications
about the Data Breach.

23. On August 18, 2014, Defendants filed a Form 8-K with the United States
Securities and Exchange Commission (“SEC”) that provided the first notification of the Data
Breach. The filing stated:

In July 2014, Community Health Systems, Inc. (the “Company”) confirmed that

its computer network was the target of an external, criminal cyber-attack that the

Company believes occurred in April and June, 2014. The Company and its

forensic expert, Mandiant (a FireEye Company), believe the attacker was an

“Advanced Persistent Threat” group originating from China who used highly
sophisticated malware and technology to attack the Company’s systems. The
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attacker was able to bypass the Company’s security measures and successfully
copy and transfer certain data outside the Company. Since first learning of this
attack, the Company has worked closely with federal law enforcement authorities
in connection with their investigation and possible prosecution of those
determined to be responsible for this attack. The Company also engaged
Mandiant, who has conducted a thorough investigation of this incident and is
advising the Company regarding remediation efforts. Immediately prior to the
filing of this Report, the Company completed eradication of the malware from its
systems and finalized the implementation of other remediation efforts that are
designed to protect against future intrusions of this type. The Company has been
informed by federal authorities and Mandiant that this intruder has typically
sought valuable intellectual property, such as medical device and equipment
development data. However, in this instance the data transferred was non-medical
patient identification data related to the Company’s physician practice operations
and affected approximately 4.5 million individuals who, in the last five years,
were referred for or received services from physicians affiliated with the
Company. The Company has confirmed that this data did not include patient
credit card, medical or clinical information; the data is, however, considered
protected under the Health Insurance Portability and Accountability Act
(“HIPAA”) because it includes patient names, addresses, birthdates, telephone
numbers and social security numbers. The Company is providing appropriate
notification to affected patients and regulatory agencies as required by federal and
state law. The Company will also be offering identity theft protection services to
individuals affected by this attack. The Company carries cyber/privacy liability
insurance to protect it against certain losses related to matters of this nature.
While this matter may result in remediation expenses, regulatory inquiries,
litigation and other liabilities, at this time, the Company does not believe this
incident will have a material adverse effect on its business or financial results.'

24. On August 19, 2014, Defendants published a “Data Breach Notification” on
their public website. The Notification stated:

On behalf of Community Health Systems Professional Services Corporation
(°CHSPSC”), I want to express sincere regret to the patients of affiliated
physician practices and clinics whose data was accessed in a foreign-based cyber-
attack of our computer network. We value the trust you have placed in us for your
care and it is our priority to ensure those who were affected by this attack are
notified about the breach and have their questions answered. If you were affected
by the data breach, you will receive a letter with more information and a toll-free
number to call to learn about the free identity theft protection offered to affected
patients. The following notice contains more details about the breach, measures
we are taking to notify you, and how we are improving the way we protect health

 

' Defendants’ August 18, 2014 SEC filing is available at C:\Users\Office\Documents\
Community Health\SEC Filing.htm.
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your information.

In July 2014, Community Health Systems Professional Services Corporation
(“CHSPSC”) confirmed its computer network was the target of an external
criminal cyber-attack in April and June 2014. CHSPSC, a Tennessee company,
provides management, consulting, and information technology services to certain
clinics and hospital-based physicians in this area.

CHSPSC believes the attacker was an “Advanced Persistent Threat” group
originating from China, which used highly sophisticated malware technology to
attack CHSPSC’s systems. The intruder was able to bypass the company’s
security measures and successfully copy and transfer some data existing on
CHSPSC’s systems.

Since first discovering the attack, CHSPSC has worked closely with federal law
enforcement authorities in connection with their investigation of the matter.
CHSPSC also engaged an outside forensic expert to conduct a thorough
investigation and remediation of this incident. CHSPSC has implemented efforts
designed to protect against future intrusions. These efforts include implementing
additional audit and surveillance technology to detect unauthorized intrusions,
adopting advanced encryption technologies, and requiring users to change their
access passwords.

The majority of patients of clinics and hospital-based physicians affiliated with
CHSPSC were not affected by this breach. Individuals whose information was
taken in this cyber-attack will be mailed a letter informing them about the data
breach and how to enroll in free identity theft protection and credit monitoring
services. The data taken includes patients’ names, addresses, birthdates, social
security numbers, and, in some cases, telephone numbers, and the names of
employers or guarantors. However, to the best of CHSPSC’s knowledge, NO
credit card information was taken and NO medical or clinical information was
taken. CHSPSC recommends that you remain vigilant for incidents of fraud and
identity theft by reviewing your credit report and accounts for unauthorized
activity.

Anyone with questions or concerns about this cyber-attack may contact 1-855-
205-6951 toll-free beginning Wednesday, August 20, 2014, at 8:00 a.m. central
time. For information on preventing identity theft or to report suspicious activity,
contact the Federal Trade Commission at 1-877-438-4338 or get free information
at www.fic.gov.”

25. Defendants did not send Plaintiff correspondence notifying him of the Data

 

* Defendants’ August 19, 2014, Data Breach Notification is available at http://www.chs.net/
media-notice-august-19-2014/.
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Breach until August 29, 2014.

26. Defendants’ failure to notify Plaintiff and proposed Class members of the Data
Breach in a reasonable time deprived Plaintiff and proposed Class members of critical time to
protect themselves from identity theft.

27. Nationally, approximately four and one-half (4.5) million individuals have had
their patient identification data misappropriated as a result of the breach of Defendants’
computer network.

28. Defendants had a duty to protect the private, highly sensitive, confidential
patient identification data of Plaintiff and the proposed Class members.

29. The patient identification data that was copied and transferred from Defendants’
computer systems is considered protected under the Health Insurance Portability and
Accountability Act of 1996 (“HIPAA”), 29 U.S.C.A. §§ 1181 ef seg. because it includes patient
names, addresses, birthdates, telephone numbers and Social Security numbers.

30. HIPAA required Defendants to “reasonably protect” the copied data from “any
intentional or unintentional use or disclosure.” 45 C.F.R. § 164.530(c)(1)(2)(i). Federal
regulations also required Defendants to “have in place appropriate administrative, technical, and
physical safeguards to protect the privacy of protected health information.” /d. at
§ 164.530(c)(1).

31. Defendants violated HIPAA by failing to maintain the confidentiality of
Plaintiff's and the proposed Class members’ protected patient identification data.

32. Defendants failed to safeguard and prevent vulnerabilities from being taken

advantage of in their computer systems.

33. As a result of Defendants’ failure to safeguard and prevent vulnerabilities from
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being taken advantage of in their computer systems, unauthorized third parties were able to
bypass Defendants’ inadequate security measures and successfully copy and transfer the patient
identification data of Plaintiff and the proposed Class members.

34. The 2013 Identity Fraud Report released by Javelin Strategy & Research reports
that in 2012 identity fraud incidents increased by more than one million victims and hackers
stole nearly $21 billion. The study found 12.6 million victims of identity fraud in the United
States in the past year, which equates to 1 victim every 3 seconds. The report also found that
nearly 1 in 4 data breach letter recipients became a victim of identity fraud, with breaches
involving Social Security numbers to be the most damaging.

35. To assist companies in protecting the security of sensitive personal and financial
information, the Federal Trade Commission (“FTC”) has issued a publication entitled
“Protecting Personal Information: A Guide for Business” (the “FTC Report”). In this
publication, the FTC provides guidelines for businesses on how to develop a “sound data
security plan” to protect against crimes of identity theft.

36. To protect the personal sensitive information in their files, the FTC Report

instructs businesses to follow the following guidelines:

a) Keep inventory of all computers and laptops where the company stores sensitive
data;
b) Do not collect personal information if there is no legitimate business need. If

there is a legitimate business need, only keep the information as long as
necessary;
a) Use Social Security numbers only for required and lawful purposes and do not

store these numbers unnecessarily, such as for an employee or customer
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identification number:

d) Encrypt the personal information, particularly if the sensitive information is
shipped to outside carriers or contractors. In addition, the business should keep
an inventory of all the information it ships:

e) Do not store sensitive computer data on any computer with an Internet connection
or access unless it is essential for conducting the business;

f) Control access to sensitive information by requiring that employees use “strong”
passwords; and

g) Implement information disposal practices that are reasonable and appropriate to
prevent unauthorized access to personally identifying information.

37. Defendants violated federal guidelines and failed to meet current data security
industry standards by failing to ensure adequate security over Plaintiffs and the proposed Class
members’ patient identification data and by failing to retain Plaintiff's and the proposed Class
members’ patient identification data in a secure and safe manner.

38. By way of illustration and without limitation, on information and belief,
Defendants failed to properly encrypt data, failed to establish adequate firewalls to handle a
server intrusion contingency, and failed to implement adequate authentication protocol to protect
the confidential information contained in its computer network.

39. On information and belief, the Data Breach also resulted from Defendants’
pattern of un-patched systems and inadequate vulnerability management.

40. Plaintiff and the proposed Class members and Defendants agreed that, as part of
the health care services provided to Plaintiff and the proposed Class Members, Defendants would

protect the patient identification data of Plaintiff and the proposed Class members.
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41. Specifically, Defendants have published a “Code of Conduct,” available at
http://www.chs.net/wp-content/uploads/PDF/2014%20Code%200f%20Conduct.pdf (last visited
Nov. 20, 2014).

42. Defendants’ Code of Conduct contains at “Statement of Beliefs” which provides,
in relevant part, as follows: “We have adopted the following Statement of Beliefs that
summarizes the commitments of the organization’s constituents fo our patients, colleagues,
physicians, and the communities served. ... [W]e are dedicated to compliance with all federal,
state, and local laws, rules, and regulations, including privacy and security of patient health
information.” See Defendants’ Code of Conduct at 2 (emphasis added).

43. Further, the provisions of Defendants’ Code of Conduct concerning the
“Confidentiality of Patient Information” provide that:

When a patient enters a CHS affiliated facility, a large amount of personal,

medical, and insurance data is collected and used to satisfy information needs

including the ability to make decisions about a patient’s care. We consider
patient information highly confidential. Colleagues are expected to take care to
protect the privacy of individually identifiable health information at all times. All

of the facilities within the organization have specific policies describing patient

confidentiality and release of information rules that conform to federal, state, and

local laws governing the release or disclosure of health information.

See Defendants’ Code of Conduct at 10 (emphasis added).

44, Moreover, Defendants’ health care providers have published patient resources
regarding “Patient Rights & Responsibilities” and “HIPAA Compliance.” By way of example,
on its public website, Brandywine Hospital, which is owned and operated by Defendants, assures
patients, such as Plaintiff and members of the proposed Class, that they have the right to
“[p]ersonal privacy” and “privacy of your health information.” See http://www.brandywine

hospital.com/brandywine-hospital/patientrightsandresponsibilities.aspx.

45, Brandywine Hospital further assures patients, such as Plaintiff and members of

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the proposed Class, of its “Pledge Regarding Medical Information,” stating that “[w]e understand
that medical information about you and your health care is personal. We are committed to
protecting medical information about you.” See http://www.brandywinehospital.com
/brandywine-hospital/hipaa | .aspx.

46. These agreements to protect Plaintiffs and the proposed Class members’ patient
identification data were a value added to the services provided by Defendants’ health care
providers that were considered a benefit of the bargain for which Plaintiff and the proposed Class
members paid adequate consideration.

47. A portion of the consideration paid for healthcare by Plaintiff and the proposed
Class members was accepted by Defendants and was allocated to protecting and securing
Plaintiff's and the proposed Class members’ patient identification data and ensuring HIPAA
compliance. This allocation was made for the purpose of offering patients and consumers, such
as Plaintiff and the proposed Class members, added value to the health care services provided by
agreeing to protect their patient identification data.

48. As a direct result of Defendant’s negligent failure to maintain reasonable and
adequate security procedures to protect against the theft of Plaintiff's and the proposed Class
members’ patient identification data, and Defendants’ breach of their agreements to do so,
Plaintiff and the proposed Class members are at an increased and imminent risk of becoming
victims of identity theft crimes, fraud and abuse.

49, In addition, Plaintiff and the proposed Class members have spent, and will need

to spend, considerable time and money to protect themselves as a result of Defendants’ conduct.

 

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CLASS ACTION ALLEGATIONS
50. Plaintiff brings this action as a Class action pursuant to Rule 23 of the Federal
Rules of Civil Procedure on his own behalf and on behalf of all similarly situated persons,
defined as follows:
All persons in the United States whose patient identification data

was contained in or on Defendants’ computer network and whose
patient identification data was misappropriated as a result of the

Data Breach.
51. Plaintiff is a member of the Class he seeks to represent.
52. The Class is so numerous that joinder of all members is impracticable, as

approximately four and one-half (4.5) million individuals’ patient identification data has been
compromised.

53. The members of the Class are individuals who were referred for or received
services from physicians affiliated with Defendants. As such, the members of the Class are
readily ascertainable, as they can be identified by records maintained by Defendants. Notice can
be provided by means permissible under Rule 23.

54. Plaintiff's claims are typical of the claims of all members of the Class.
Specifically, Plaintiff's and Class members’ claims arise from Defendants’ failure to install and
maintain reasonable security measures, and to implement appropriate policies, to protect
Plaintiff's and Class members’ patient identification data.

55. The conduct of Defendants has caused injury and/or imminent threat of injury to
Plaintiff and members of the Class.

56. Prosecuting separate actions by individual Class members would create a risk of
inconsistent or varying adjudications that would establish incompatible standards of conduct for

Defendants.

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57. Plaintiff will fairly and adequately represent the interests of the Class. Plaintiff
has no interests antagonistic to or in conflict with those of the proposed Class members and
therefore is an adequate representative for the proposed Class members.

58. Plaintiff is represented by experienced counsel who are qualified to litigate this
case,

59. Common questions of law and fact predominate over individualized questions.
A Class action is superior to all other available methods for the fair and efficient adjudication of
this controversy.

60. There are questions of law and fact common to all members of the Class, the
answers to which will advance the resolution of the claims of the Class members and that
include, without limitation:

a) Whether Defendants failed to provide adequate security and/or protection for their
computer systems containing Plaintiff's and the proposed Class members’ patient
identification data:

b) Whether Defendants owed a legal duty to Plaintiff and the proposed Class
members to protect their personal and financial information and whether
Defendants breached this duty;

c) Whether the conduct of Defendants resulted in the unauthorized breach of their
computer systems containing Plaintiffs and the proposed Class members’ patient
identification data;

d) Whether Plaintiff and the proposed Class members have been injured by
Defendants’ conduct;

e) Whether Plaintiff and Class members are at an increased risk of identity theft as a

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result of Defendants’ failure to protect Plaintiff's and the proposed Class
members’ patient identification data;

f) Whether Defendants were negligent;

g) Whether Defendants are in breach of contract;

h) Whether Plaintiff and the proposed Class members are entitled to injunctive
relief: and

i) Whether Plaintiff and the proposed Class members are entitled to damages, and

the measure of such damages.

COUNT I
NEGLIGENCE
61. Plaintiff incorporates and re-alleges each and every allegation contained above
as if fully set forth herein.
62. Defendants had a duty to exercise reasonable care to protect and secure

Plaintiff's and the proposed Class members’ patient identification data within its possession or
control from being compromised, lost, stolen, misused, and/or disclosed to unauthorized parties.
This highly confidential patient identification data includes but is not limited to patient names,
addresses, birthdates, telephone numbers, Social Security numbers, and other personal
information.

63. Defendants’ duty included, among other things, designing, maintaining, and
testing their security systems to ensure that Plaintiff's and the proposed Class members’ patient
identification data in their possession was adequately secured and protected.

64. Defendants further had a duty to implement processes that would detect a breach
of their security systems in a timely manner.

65, Through their acts or omissions, Defendants breached their duty to use

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reasonable care to protect and secure Plaintiff's and the proposed Class members’ patient
identification data within their possession or control. Defendants breached their duty by failing
to adopt, implement, and maintain adequate security measures to safeguard Plaintiff's and
proposed Class members’ patient identification data, failing to adequately monitor the security of
their networks, allowing unauthorized access to Plaintiff's and the proposed Class members’
patient identification data, and failing to recognize in a timely manner that Plaintiff's and
proposed Class members’ patient identification data had been compromised.

66. Defendants’ failure to comply with widespread industry standards relating to
data security, as well as the delay between the date of the intrusion and the date Plaintiff and
proposed Class members were informed of the Data Breach, further evidence Defendants’
negligence in failing to exercise reasonable care in safeguarding and protecting Plaintiff's and
the proposed Class members’ patient identification data in their possession or control.

67. But for Defendants’ wrongful and negligent breach of their duties owed to
Plaintiff and the proposed Class members, the Data Breach would not have occurred and
Plaintiff's and the proposed Class members’ patient identification data would not have been
compromised.

68. The injury and harm suffered by Plaintiff and the proposed Class members was
the reasonably foreseeable result of Defendants’ failure to exercise reasonable care in
safeguarding and protecting Plaintiff's and the proposed Class members’ patient identification
data in their possession or control. Defendants knew or should have known that their systems
and technologies for processing and securing Plaintiff's and proposed Class members’ patient
identification data had security vulnerabilities.

69. Plaintiff is part of a well-defined foreseeable Class. Defendants’ liability is

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restricted to a finite and discernable Class who were well-known and identifiable to Defendants
before their conduct caused the harm at issue. Members of the Class are persons who utilized
services from Defendants’ health care providers, meaning that the persons comprising the Class,
their numbers, and their potential to be harmed by Defendants’ negligent conduct all were
predictable and reasonably foreseeable.

70. The nature of the harm was also foreseeable. Defendants were aware, or should
have been aware, that the patient identification data provided by Plaintiff and Class members
was frequently the target of data breach crimes because that information was utilized to engage
in identity theft. Being aware of both the potential for attempted theft and the discernible class
of persons who entrusted Defendants with their valuable patient identification data, Defendants
had a duty to ensure that they protected that information.

71. Defendants’ negligent handling of Plaintiff's sensitive information was the direct
and proximate cause of his foreseeable economic harm. Upon acquisition, Defendants had sole
control over the data and Plaintiff had no ability to protect his information. Consequently,
Defendants were in the best and only position to safeguard the information. Defendants failed in
this regard and negligently allowed third party hackers to access their servers and remove
Plaintiff's information. Thus, Defendants’ negligence directly made available Plaintiff's
personal information and therefore was a direct cause of Plaintiffs and all proposed Class
members’ harm.

72. As a result of Defendants’ negligence, Plaintiff and the proposed Class members
have suffered actual damages including but not limited to expenses for credit monitoring, lost
work time, anxiety, emotional distress, loss of privacy, and other economic and non-economic

harm.

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73. As aresult of Defendants’ negligence, Plaintiff and the proposed Class members

are at an increased and imminent risk of becoming victims of identity theft crimes, fraud and

 

abuse.
COUNT
BREACH OF CONTRACT
74. Plaintiff incorporates and re-alleges each and every allegation contained above
as if fully set forth herein.
75. Defendants came into possession of Plaintiff's and the proposed Class members’

patient identification data through their subsidiary and other relationships with the health care
providers of Plaintiff and the proposed Class members.

76. Defendants contracted with Plaintiff and the proposed Class members to protect
such information.

77. The written agreement between Defendants and Plaintiff and the proposed Class
members expressly required Defendants to safeguard and protect Plaintiff's and the proposed
Class members’ patient identification data from being compromised and/or stolen. In the
agreement the Defendants also promised to comply with HIPAA and its implementing
regulations and only to disclose Plaintiff's and the proposed Class members’ patient
identification information when required to do so by federal and/or state law.

78. Plaintiff and the proposed Class members were direct beneficiaries of the
contract between themselves and Defendants, and Defendants owed a direct duty of care to them.

79. To the extent that an express contract was not created by the written agreement,
an implied contract was created when Plaintiff and the proposed Class members disclosed their
patient identification data to Defendants in exchange for healthcare, for which Plaintiff and the

proposed Class members then paid.

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80. Plaintiff and the proposed members of the Class would not have disclosed such
information without assurance that Defendants would maintain sufficient security measure to
prevent its unauthorized access, theft, or otherwise improper disclosure.

81. Plaintiff and the proposed members of the Class also disclosed such information
for the benefit of Defendants.

82. Thus, the provision of the patient identification information by Plaintiff and the
proposed members of the Class and Defendants acceptance, created an implied contract whereby
Defendant had a duty to safeguard and protect the information of Plaintiff and the proposed
members of the Class.

83. Defendants did not safeguard or protect Plaintiff's and the proposed Class
members’ personal identification data from being accessed, compromised, and/or stolen.
Defendants did not maintain sufficient security measures and procedures to prevent unauthorized
access to Plaintiff's and the proposed Class members’ patient identification data.

84. Because Defendants failed to safeguard and/or protect Plaintiff's and the
proposed Class members’ patient identification data from being compromised or stolen,
Defendants breached their contracts with Plaintiff and the proposed Class members.

85. Plaintiff and the proposed Class members have suffered and will continue to

suffer damages as the result of Defendants’ breach.

 

COUNT UI
NEGLIGENCE PER SE
86. Plaintiff incorporates and re-alleges each and every allegation contained above
as if fully set forth herein.
87. HIPAA was designed to protect the privacy of personal medical information by

limiting is disclosure.

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88. HIPAA seeks to protect the privacy of protected patient identification data by
prohibiting any voluntary or involuntary use or disclosure of such data in violation of the
directives set out in the statute and its regulations.

89. As described above, Defendants violated HIPAA by failing to maintain the
confidentiality of their protected patient identification data.

90. Plaintiff and the proposed Class members have suffered harm, including but not
limited to expenses for credit monitoring, lost work time, anxiety, emotional distress, loss of
privacy, and other economic and non-economic harm, as well as an being placed at an increased
and imminent risk of becoming victims of identity theft crimes, fraud and abuse as a result of
Defendants’ violation.

91. Plaintiff and the proposed Class members are persons whom Congress intended
to be protected by HIPAA.

92. Defendant is a HIPAA covered entity.

93. The records stolen from Plaintiff and other Class members are the types of
records HIPAA was created to protect.

94. The injuries suffered by Plaintiff and the proposed Class members were directly
and proximately caused by Defendants’ violation of HIPAA.

95, Defendants’ violation of HIPAA thus constitutes negligence per se and Plaintiff
and the proposed Class members are entitled to recover damages in an amount to be proven at
trial.

COUNTIV
BAILMENT

96. Plaintiff incorporates and re-alleges each and every allegation contained above

as if fully set forth herein.

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97. Plaintiff and the proposed Class members delivered their patient identification
data to Defendants in order to receive health care services from Defendants’ affiliated health care
providers.

98. This patient identification data was furnished to Defendants for the exclusive
purpose of administering and managing health care services delivered by Defendants’ affiliated
health care providers and Defendants took possession of the patient identification data for the
same reason.

99, Upon delivery, Plaintiff and the proposed Class members intended and
understood that Defendants would adequately safeguard their patient identification data and
Defendants, in accepted possession, understood the expectations of Plaintiff and the proposed
Class members. Accordingly, bailment was established for the mutual benefit of the parties at
the time of delivery and acceptance of possession.

100. Pursuant to the bailment arrangement, Defendants owed Plaintiff and the
proposed Class members a duty of reasonable care in safeguarding and protecting their patient
identification data.

101. This duty was breached by Defendants’ failure to take adequate steps to cure the
deficiencies in their security protocols and Defendants’ failure to conform to best practices and
industry standards to prevent unauthorized access to Plaintiff's and the proposed Class members’
patient identification data.

102. As a direct proximate result of Defendants’ breach, the patient identification data
of Plaintiff and the proposed Class members was exposed to third parties and thereafter stolen,

resulting in damage to the personal identities of Plaintiff and the proposed Class members.

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COUNT V
UNJUST ENRICHMENT

103. Plaintiff incorporates and re-alleges each and every allegation contained above
as if fully set forth herein.

104. Plaintiff brings this Count V in the alternative to his claim for breach of contract.

105. Defendants received payment from Plaintiff and the proposed Class members to
perform services that included protecting Plaintiff's and the proposed Class members’ patient
identification data.

106. | Defendants did not protect Plaintiff's and the proposed Class members’ patient
identification data, but retained Plaintiff's and the proposed Class members’ payments.

107. Defendants retained the benefits of Plaintiff's and the proposed Class members’
payments under circumstances which rendered it inequitable and unjust for Defendants to retain
such benefits without paying for their value.

108. Defendants have knowledge of said benefits.

109. = As arresult, Plaintiff and the proposed Class members have been proximately
harmed and/or injured.

COUNT VI
WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT

110. Plaintiff incorporates and re-alleges each and every allegation contained above
as if fully set forth herein.

111. The Fair Credit Reporting Act (““FCRA”) “require[s] consumer reporting
agencies [to] adopt reasonable procedures for meeting the needs of commerce for consumer
credit, personnel, insurance, and other information in a manner which is fair and equitable to the

consumer, with regard to the confidentiality, accuracy, relevancy, and proper utilization of such

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information.” 15 U.S.C. § 1681(b).

112. The FCRA protects the disclosure of medical information and only allows
dissemination in a limited number of circumstances. See 15 U.S.C. §1681a(d)(3); § 1681 b(g); §
1681(a)(6).

113. Plaintiff's and the proposed Class members’ patient identification data
constitutes “medical information” for purposes of the FCRA.

114. Defendants are “consumer reporting agencies” because “for monetary fees, dues,
[and/Jor on a cooperative nonprofit basis, [they] regularly engage[] in whole or in part in the
practice of assembling or evaluating consumer credit information or other information on
consumers for the purpose of furnishing consumer reports to third parties, and [] use .. .
interstate commerce for the purpose of preparing or furnishing consumer reports.” 15 U.S.C. §
168 la(f).

115. Defendants’ collection of Plaintiff's and the proposed Class member’s patient
identification data and subsequent transmission and communication of the same constitutes as a
“consumer report” because the information collected “bear[s] on a consumer's credit worthiness,
credit standing, credit capacity, character, general reputation, personal characteristics, or mode of
living” and “is used or expected to be used or collected in whole or in part for the purpose of
serving as a factor in establishing the consumer's eligibility for credit or insurance to be used
primarily for personal, family, or household purposes.” 15 U.S.C. § 1681a(d)(1).

116. Defendants, as consumer reporting agencies, were required (and still are
required) to put in place and maintain procedures that would protect the patient identification
data of Plaintiff and the proposed members of the Class and limit its disclosure exclusively to

those situations outlined in the FCRA. Defendants failed to put in place and/or maintain the

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requisite procedures and thereby caused Plaintiffs and the proposed Class members’ information
to be disclosed in violation of the FCRA, directly resulting in the theft and wrongful
dissemination of that information.

117. Defendants’ violation was willful and/or reckless and has directly caused (and
continues to cause) damage to Plaintiff and the Class including cost of credit monitoring and
identity-theft insurance, other out-of pocket expenses, identity theft, loss of privacy, and other
economic and non-economic damages.

118. Thus, Plaintiff and the Class are entitled to statutory damages, non-statutory
damages in an amount to be proven at trial, and attorneys’ fees.

COUNT VII
NEGLIGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT

119. Plaintiff incorporates and re-alleges each and every allegation contained above
as if fully set forth herein.

120. In the alternative, Defendants negligently violated the FCRA by failing to put in
place and maintain procedures designed to protect Plaintiff's and the proposed Class members’
patient identification data and limit its disclosure solely to the situations outlined in the FCRA.

121. As described above, this failure proximately caused the theft and wrongful
dissemination of the protected patient identification information.

122. It was reasonably foreseeable that Defendants failure to put in place and
maintain procedures to protect and limit the disclosure of Plaintiff's and the proposed Class
members’ patient identification data would result in the theft, unlawful dissemination and/or
wrongful disclosure of the data.

123. Defendants’ violation was negligent and has directly caused (and continues to

cause) damage to Plaintiff and the Class including cost of credit monitoring and identity-theft

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insurance, other out-of pocket expenses, identity theft, loss of privacy, and other economic and

non-economic damages.

124.

Thus, Plaintiff and the Class are entitled to statutory damages, non-statutory

damages in an amount to be proven at trial and attorneys fees.

125.

PRAYER FOR RELIEF

Plaintiff requests that this Court enter judgment against Defendants and in favor

of Plaintiff and the proposed Class members and award the following relief:

a)

b)

d)

That this action be certified as a Class action pursuant to Rule 23 of the Federal
Rules of Civil Procedure, declaring Plaintiff as the representative of the Class and
Plaintiff's counsel as counsel for the Class;

Monetary damages;

Injunctive relief, including but not limited to the provision of credit monitoring
services for Plaintiff and the proposed Class members for a period of at least
twenty-five (25) years, the provision of bank monitoring services for Plaintiff and
the proposed Class members for a period of at least twenty-five (25) years, the
provision of credit restoration services for Plaintiff and the proposed Class
members for a period of at least twenty- five (25) years, and the provision of
identity theft insurance for Plaintiff and the proposed Class members for a period
of at least twenty-five (25) years;

Reasonable attorneys’ fees and expenses, including those related to experts and
consultants;

Costs;

Pre and post judgment interest;

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g) Such other relief as this Court may deem just and proper.
JURY DEMAND
126. Pursuant to Fed. R. Civ. P. 38(b), Plaintiff, individually and on behalf of the

Class she seeks to represent, demands a trial by jury for all issues so triable.

 

Dated: January x, 2014 By:

 

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